  Case: 1:17-md-02804-DAP Doc #: 5040 Filed: 05/18/23 1 of 4. PageID #: 612345




                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION                                    Case No. 1:17-MD-2804

 APPLIES TO ALL CASES                                 Hon. Dan A. Polster



      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO STRIKE KROGER’S
       OBJECTION TO SPECIAL MASTER COHEN’S DISCOVERY RULING
         NO. 14, PART 32 REGARDING KROGER’S PRIVILEGE CLAIMS


       This Court has ordered on multiple occasions that it “will strike” any objection to a special

master’s ruling that raises “new evidence or legal theories not first provided to the special master

for consideration”. See, e.g., Doc. ##: 1349 at 2; 1422 at 1; 3527 at 7 n.12. However, Kroger’s

Opposition to Plaintiffs’ Motion to Strike (“Kroger Opp.”) claims that these orders are inapplicable

because Special Master Cohen allegedly “permitted Kroger to supplement the record for this

Court’s review”. See Kroger Opp. at 2 (emphasis in original). Kroger is incorrect.

       In his April 28, 2023 email ruling (“4/28 Ruling”), Special Master Cohen solely agreed to

“extend the deadline from May 1, 2023 to May 10, 2023” for Kroger to file its objection to

Discovery Ruling No. 14, Part 32 (“DR 14-32”). See Ex. A (4/28 Ruling). Nothing further is

permitted in the 4/28 ruling. It does not mention allowing new exhibits or legal theories. Id.

Rather, the Kroger Opp. invents permission to do so when none was given.

        Additionally, the Kroger Opp. is inconsistent both factually and logically. For example,

Kroger asserts it did not have enough time for its letter brief submission, and that there was no

hearing, underlying DR 14-32. See Kroger Opp. at 2. However, Kroger never sought to extend

the letter briefing deadline and never requested a hearing prior to the issuance of DR 14-32. The
    Case: 1:17-md-02804-DAP Doc #: 5040 Filed: 05/18/23 2 of 4. PageID #: 612346




Kroger Opp. claims that “Plaintiffs did not object”, id., even though Kroger’s April 27, 2023 letter

(requesting additional time to object to DR 14-32) confirmed the opposite is true.1 The Kroger

Opp. summarizes that “Kroger’s Objection is completely consistent with the Special Master’s

decision extending Kroger’s deadline to object to the Order.” See Kroger Opp. at 4. However,

the new evidence and legal theories in Kroger’s Objection are completely inconsistent with the

very purpose of the special master appointment as well as this Court’s multiple orders prohibiting

new evidence and new legal theories in objections to special master rulings.2

        Finally, Kroger is wrong that “Plaintiffs’ motion to strike is not supported by law”. See

Kroger Opp. at 3. Kroger ignores the authority for striking non-pleadings pursuant to courts’

“inherent power to control their dockets”.3 Courts grant motions to strike non-pleadings when

warranted, including for failures to comply with their orders.4 Moreover, and most importantly,

this Court repeatedly ordered the parties not to do what Kroger has done here. See, e.g., Doc. #:

1422 at 1. Plaintiffs’ motion to strike is supported by the law as well as the law of the case.


1
 See Ex. A to Kroger Opp. at 1 (“It is important to note that Kroger has attempted to resolve this
scheduling issue without the Special Master’s intervention but was denied its request for an
extension to May 15 from the PEC.”).

2
 See Doc. #: 1349 at 2 (“Submitting new evidence, case law, or legal theories to the Court for de
novo review in an objection to a special master’s ruling without first submitting them to the special
master undermines [the special master appointment] and wastes judicial resources.”).
3
 See, e.g., A Metal Source, LLC v. All Metal Sales, Inc., 2016 WL 245981, at *3 (N.D. Ohio Jan.
21, 2016) (Polster, J.) (quoting Zep Inc. v. Midwest Motor Supply Co., 726 F.Supp.2d 818, 822
(S.D.Ohio 2010)). See also Bickerstaff v. Cuyahoga Cnty., No. 1:18CV1142, 2020 WL 5626692,
at *6 (N.D. Ohio Sept. 21, 2020) (“Although Rule 12(f) only applies to pleadings, a court has the
inherent authority to strike non-pleadings in order to manage its docket.”) (internal quotes and
citation omitted).
4
 See, e.g., Scully v. Hamilton Cnty. Developmental Disabilities Servs., No. 1:17-cv-685, 2021 WL
3634700, at *4 (S.D. Ohio Aug. 17, 2021) (granting motion to strike a summary judgment filing
that did not comply with the Court's standing order); Jones v. Ahmed, No. 1:14-cv-964, 2019 WL
1433853, at *1 (S.D. Ohio Mar. 31, 2019) (upholding Magistrate Judge’s granting of a motion to
strike a response brief), aff'd, No. 19-3393, 2020 WL 2062280 (6th Cir. Feb. 10, 2020).
                                                 2
 Case: 1:17-md-02804-DAP Doc #: 5040 Filed: 05/18/23 3 of 4. PageID #: 612347




Dated: May 18, 2023                Respectfully submitted,

                                          Jayne Conroy
                                          SIMMONS HANLY CONROY
                                          112 Madison Avenue, 7th Floor
                                          New York, NY 10016
                                          (212) 784-6400
                                          (212) 213-5949 (fax)
                                          jconroy@simmonsfirm.com


                                          Joseph F. Rice
                                          MOTLEY RICE LLC
                                          28 Bridgeside Blvd.
                                          Mt. Pleasant, SC 29464
                                          (843) 216-9000
                                          (843) 216-9290 (Fax)
                                          jrice@motleyrice.com

                                          Paul T. Farrell, Jr., Esq.
                                          FARRELL & FULLER LLC
                                          1311 Ponce de Leone Ave., Suite 202
                                          San Juan, PR 00907
                                          (304)654-8281
                                          paul@farrellfuller.com

                                          Plaintiffs’ Co-Lead Counsel

                                          /s/Peter H. Weinberger
                                          Peter H. Weinberger (0022076)
                                          SPANGENBERG SHIBLEY &LIBER
                                          1001 Lakeside Avenue East, Suite 1700
                                          Cleveland, OH 44114
                                          (216) 696-3232
                                          (216) 696-3924 (Fax)
                                          pweinberger@spanglaw.com

                                          Plaintiffs’ Liaison Counsel




                                      3
  Case: 1:17-md-02804-DAP Doc #: 5040 Filed: 05/18/23 4 of 4. PageID #: 612348




                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2023, I electronically filed the foregoing with the Clerk of
Court by using the CM/ECF system and may be obtained by using the CM/ECF system. Copies
will be served upon counsel of record by, and may be obtained through, the Court CM/ECF system.


                                                      /s/Peter H. Weinberger
                                                      Peter H. Weinberger




                                                 4
